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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA


 HIRAN RODRIGUEZ                        §     CIVIL ACTION
                                        §     NO. 2:25-CV-00197
           PLAINTIFF                    §
                                              JUDGE JAY C. ZAINEY
 VS.                                          SECTION A
                                        §
 META PLATFORMS, INC., ET AL                  MAGISTRATE JUDGE
                                        §     DONNA PHILLIPS CURRAULT
           DEFENDANTS                   §     DIVISION 2
                                        §
                                        §     JURY TRIAL REQUESTED
                                        §
                                        §
                                        §

NOTICE OF ENTRY OF RULE 1006 SUMMARY EXHIBIT – EXHIBIT D-4
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NOW INTO COURT, comes PLAINTIFF, HIRAN RODRIGUEZ, appearing sui juris, to

provide uncompromising notice that the attached evidentiary material — EXHIBIT D-4 — is

submitted into the judicial record pursuant to Federal Rule of Evidence 1006.




This exhibit is a tabulated forensic summary of Custom Audience entities identified through

detailed examination of PLAINTIFF’S Facebook data logs archive, dated April 6, 2024

through April 6, 2025. Each entry represents a third-party surveillance participant who

included PLAINTIFF in targeted behavioral experiments and data monetization funnels without

voluntary, informed, or lawful consent.




Pursuant to Federal Rule of Evidence 1006, Federal Rule of Evidence 401, and Federal Rule

of Civil Procedure 26(a)(1)(A)(ii), no judicial discretion is required for admissibility. This is a

binding evidentiary filing, self-authenticating under regular conduct of digital business records.




This filing irrevocably binds the judicial record. Continued silence, failure to rebut, or

refusal to acknowledge by this COURT or by any DEFENDANT shall be construed as tacit

waiver, constructive forfeiture, and intentional concealment under color of law and in

violation of due process.




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This filing, including EXHIBIT D-4 and the Sworn Declaration of Integrity, shall stand as a

permanent evidentiary fixture within the record of this COURT. Any attempt to obstruct,

redact, delay, tamper with, or destroy said evidence shall trigger immediate petitions for civil

and criminal contempt, judicial sanctions, and referral to lawful prosecutorial authority

under the laws of the United States and the constitutional protections of the sovereign individual.




Respectfully entered, this 12th day of April, 2025.




/s/ HIRAN RODRIGUEZ


Pro Se Plaintiff, Sui Juris


820 Grove Ave


Metairie, LA, 70003-7024


(504)-203-8459


hiranrodriguez@outlook.com




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                              CERTIFICATE OF SERVICE


I, HIRAN RODRIGUEZ, Sui Juris, hereby certify that a true and correct copy of the foregoing

NOTICE OF ENTRY OF RULE 1006 SUMMARY EXHIBIT – EXHIBIT D-4, along with

EXHIBIT D-4 and the Sworn Declaration of Integrity, has been submitted into the judicial

record via the United States District Court’s Electronic Document Submission System

(EDSS) on this 12th day of April, 2025.


As this action constitutes official filing through the Court’s electronic system, service upon all

registered parties is effectuated by operation of law and electronic notice pursuant to the Court’s

standard rules and procedures.


This certification is made in good faith, under full reservation of rights, and without waiver of

standing or remedy.




Executed this 12th day of April, 2025.




/s/ HIRAN RODRIGUEZ


Pro Se Plaintiff, Sui Juris


All Rights Reserved — UCC 1-308


Without Prejudice — Without Recourse



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eFile-ProSe

From:             Do Not Reply <do_not_reply@laed.uscourts.gov>
Sent:             Saturday, April 12, 2025 3:35 AM
To:               eFile-ProSe
Subject:          New EDSS Filing Submitted
Attachments:      NOTICE OF ENTRY OF RULE 1006 SUMMARY EXHIBIT – EXHIBIT D-4.pdf




Greetings Pro Se Desk,

A new EDSS filing has been submitted through the portal. The filing was submitted on Saturday, April
12, 2025 - 03:34.

The information for this submission is:

Filer's Name: Hiran Rodriguez

Filer's Email: hiranrodriguez@outlook.com

Filer's Mailing Address: 820 Grove Ave, Metairie, LA, 70003-7024

Filer's Phone Number: 504-203-8459

Filer's Case Number (If Known): 2:25-cv-00197

Filer's Case Name (If Known): Rodriguez v. Meta Platforms, Inc., et al

Submitted Document Description: NOTICE OF ENTRY OF RULE 1006 SUMMARY EXHIBIT –
EXHIBIT D-4




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